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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF GEORGIA
                                AUGUST A DIVISION

UNITED STATES OF AMERICA                    *
                                            *
v.                                          *                NO. 1:17-CR-00034. I Cl    'fi d
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                                            *                      Informat ion Sccurit Officer
REALITY LEIGH WINNER                        *
                                            *                  CISO _ ~~..,.___.;;.__-r- - - -
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                                   NOTICE OF FILING

       Defendant REALITY LEIGH WINNER, through Counsel, hereby provides notice to the

Court and Counsel of Record, of the filing of the following documents with the Classified

Informatioj Security Officer (CISO), on February 20, 2018:

    DEFENDANT'S REPLY TO PLAINTIFF"S OPPOSTION TO DEFENDANT'S
 OBJECT[IONS AND APPEAL OF MAGISTRATE'S DECISION GRANTING IN PART
  AND DENYING IN PART DEFENDANT'S MOTION TO COMPEL DISCOVERY
                 REQUESTS (AND ATTACHED EXHIBITS)
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Respectfully submitted,


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